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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

      Defendant.
___________________________/

                                             ORDER

       This matter is before the Court on Doc. 1279, Motion for Reconsideration, filed by Willie

Bud Reed, Jr. Defendant filed on August 25, 2008, his notice of appeal of this Court’s August 6,

2008, order denying his motion to reduce sentence. Defendant, who is a prisoner, delivered and

therefore filed the instant motion on October 26, 2008. Due to the earlier filed notice of appeal,

this Court is without jurisdiction to entertain the instant motion for reconsideration. See United

States v. Tovar-Rico, 61 F.3d 1529, 1532 (11th Cir. 1995) (quoting Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58, 103 S.Ct. 400, 74 L.Ed.2d 225 (1982) (per curiam)) (“‘The

filing of a notice of appeal is an event of jurisdictional significance–it confers jurisdiction on the

court of appeals and divests the district court of its control over the aspects of the case involved

in the appeal.’”). Defendant’s motion for reconsideration, Doc. 1279, is therefore DENIED.

       DONE AND ORDERED this              4th day of November, 2008


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
